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IN THE UNI'I‘ED STATES DISTRIC'I' COURT
FOR THE WESTERN DISTRICT OF TENNESSEE
WESTERN DIVISION

 

UNITED S'I‘ATES OF AMERICA,

 

Plaintiff,
vs. No. 97-20126-Ml
RONALD DAVIS WRIGHT,

Defendant.

>-<>-<>-<>-<>-<>-<>-<>-<>-<>-<>-<

 

ORDER CORRECTING THE DOCKET
AND
ORDER DIRECTING CLERK TO TR.ANSMIT DECEMBER 28, 2004, ORDER
TO DEFENDANT

 

Ronald. Davis Wright, Bureau of Prisons (“BOP”) inmate
registration number 11109-074, an inmate at the United States
Penitentiary in Beaumont, Texas (“USP-Beaumont”), filed a document in
his closed criminal case, styled “Writ, Motion, and Notice for a
Multi-Action Writ, Motion, and Notice for the Immediate Calculation
of Presentence Jail Time Credit Pursuant to Sentencing Reform Act of
1934, Title 18 USCS § 3585, Title 18 USCS § 3143(a)(l)(2) and the
Writ of Error Coram Nobis Pursuant to the Immediate Compellance of
Federal Agenis [sic], Agency, or Employees to Perform Duty Owed
Defendant by way of Writ of Mandamus,” on December 16, 2003. The
Court issued an order denying that motion on December 28, 2004. The
Defendant's copy of that order was returned as undeliverable by the
post office on January 12, 2005. According to the BOP website, the
proper address for sending mail to USP-Beaumont is P.O. BOx 26030,

Beaumont, TX 77720. The Clerk is ORDERED to correct the docket to

Thie document entered on The docket sheet ln?mp|iance /
with F{ule 55 ami/or 32(b) FHCrP on “ 5

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reflect the Defendant's correct mailing address and to transmit a

copy of the December 28, 2004, order to the Defendant at his correct

mailing address.

KP\

IT IS SO ORDERED this day of May, 2005.

M-:?m1 (`ML

JO PHIPPS MCCALLA
U'N TED STATES DISTRIC’I' JUDGE

   
 

 

UNITED S`TATES DSTRIC COURT - WESTER DI'S'TRICT OF ENNESSEE

   

thice of Distribution

This notice confirms a copy cf the document docketed as number 54 in
case 2:97-CR-20126 Was distributed by faX, mail, or direct printing on
May 6, 2005 to the parties listed.

 

 

Dan NeWsom

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Ronald Wright
USP-BEAUMONT

1 l 109-074

P.O. Box 26030
Beaumont7 TX 77720

Honorable J on McCalla
US DISTRICT COURT

